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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

SMARTMATIC USA CORP., et al.,

                   Plaintiffs,                      No. 1:21-cv-02900-CJN

       v.

HERRING NETWORKS, INC.,                             Judge Carl J. Nichols

                   Defendant.


             CONFIDENTIALITY AGREEMENT AND PROTECTIVE ORDER

       Plaintiffs Smartmatic USA Corp., Smartmatic International Holding B.V., and SGO

Corporation Limited and defendant Herring Networks, Inc. (together, the “Parties”) having

stipulated to the entry of a protective order under Rule 26(c) of the Federal Rules of Civil

Procedure (the “Protective Order” or “Order”) and it appearing that such Order is necessary and

appropriate and will facilitate discovery, IT IS HEREBY ORDERED THAT:

       The Parties may designate as “CONFIDENTIAL” personal or proprietary information in

any document or testimony.        “CONFIDENTIAL INFORMATION” is information in the

possession of the designating Party who believes in good faith that such information is entitled to

confidential treatment under applicable law.       Inadvertent production of CONFIDENTIAL

INFORMATION shall not constitute a waiver of confidentiality and inadvertently produced

CONFIDENTIAL INFORMATION should be returned by the receiving Party upon notice.

       CONFIDENTIAL INFORMATION shall be subject to the provisions of this Order.

Documents and information designated CONFIDENTIAL INFORMATION shall be used solely

for the purpose of this litigation. CONFIDENTIAL INFORMATION, and any information

contained therein or reasonably inferred therefrom, shall not be disclosed to any person or entity

other than (a) counsel of record and in-house counsel of the Parties, as well as their paralegal,
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clerical and secretarial staff; (b) those officers, directors, partners, members, employees, insurers

and agents of all non-designating Parties that counsel for such Parties deems necessary to aid

counsel in the prosecution and defense of this case; (c) court reporters in this case; (d) any witness

who previously had access to the CONFIDENTIAL INFORMATION; (e) mediators, outside

experts or expert consultants, provided that any such outside experts or expert consultants execute

the Acknowledgment of Confidentiality Agreement and Protective Order attached hereto; and

(f) the Court and Court personnel. CONFIDENTIAL INFORMATION shall not be used by any

such person for any purpose other than for this litigation.

       In the event that counsel for a Party receiving documents or testimony in discovery

designated as CONFIDENTIAL objects to such designation with respect to any or all of such

items, said counsel shall advise counsel for the designating party, in writing, of such objections,

the specific documents or testimony to which each objection pertains, and the specific reasons and

support for such objections. Counsel for the designating party shall have thirty (30) days from

receipt of the written objections to either (a) agree in writing to de-designate documents or

testimony pursuant to any or all of the objections and/or (b) file a motion with the Court seeking

to uphold any or all designations on documents or testimony addressed by the objections. Pending

a resolution of the motion by the Court, any and all existing designations on the documents or

testimony at issue in such motion shall remain in place. The designating party shall have the

burden of establishing the applicability of its CONFIDENTIAL designation. In the event that the

objections are neither timely agreed to nor timely addressed in a motion, then such documents or

testimony shall be de-designated in accordance with the objection applicable to such material. Any

person in possession of CONFIDENTIAL INFORMATION who receives a request or a subpoena

or other process for CONFIDENTIAL INFORMATION from any non-party to this action shall




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promptly give notice by telephone and written notice by overnight delivery, e-mail and/or

telecopier to counsel for the designating Party, enclosing or attaching a copy of the request,

subpoena or other process. In no event shall production or other disclosure pursuant to the request,

subpoena or other process be made except upon order of this Court after notice and hearing. Within

twenty-one (21) days after final termination of this action, including any appeals, counsel for the

Parties, if requested in writing by the designating Party, shall (a) return to counsel for the

designating Party all originals and copies of confidential documents or documents reflecting

CONFIDENTIAL INFORMATION; or (b) certify in writing that all originals and copies of

confidential documents or documents reflecting CONFIDENTIAL INFORMATION have been

deleted or destroyed.

       Any document, exhibit or transcript that is designated as including CONFIDENTIAL

INFORMATION in accordance with this Order, and which is otherwise admissible, may be used

at trial, provided, however, that the parties agree that they will work with the Court to identify trial

procedures, such as filing under seal and/or in camera reviews, that will protect and maintain the

private nature of highly sensitive information.

       Nothing contained in this Order, nor any action taken in compliance with it, shall operate

as an admission or assertion by any witness or person or entity producing documents that any

particular document or information is, or is not, admissible into evidence. Nothing herein

constitutes or may be interpreted as a waiver by any Party of the attorney-client privilege, attorney

work product protection, or any other privilege. Nothing in this Order shall prevent any Party

from using or disclosing their own documents or information, regardless of whether they are

designated confidential.




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IT IS SO ORDERED.

Dated: September 26, 2022

                                             ______________________________
                                             U.S. District Judge Carl J. Nichols

STIPULATED AND AGREED
AUGUST 23, 2022 BY:

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